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                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF LOUISIANA
____________________________________
                                     )
JASON HACKER                         )
                    Plaintiff,       )
      v.                             )
                                     )  Docket No. 14-063-JWD-EWD
                                     )
N. BURL CAIN, et al                  )
                                     )
                    Defendants,      )
____________________________________)

                    MOTION FOR A NEW TRIAL AND
                RENEWED JUDGMENT AS A MATTER OF LAW

       NOW INTO COURT, through undersigned counsel, comes the Plaintiff Jason

Hacker who respectfully requests that this Court grant judgment as a matter of law or, in

the alternative, a new trial. The reasons are set out in the accompanying Memorandum in

Support.

       WHEREFORE, Plaintiff requests that this motion be granted.

                                             Respectfully submitted,

                                             _/s/ John Adcock__________
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                                             _/s/ William Most__________
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                             CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2017, a copy of Plaintiff’s MOTION FOR A

NEW TRIAL AND RENEWED JUDGMENT AS A MATTER OF LAW was filed

electronically with the Clerk of Court via the CM/ECF system. Notice of this filing will

be sent to all counsel of record by operation of the court’s electronic filing system.

                                            _/s/William Most
                                               William Most




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